

People v Butler (2021 NY Slip Op 01928)





People v Butler


2021 NY Slip Op 01928


Decided on March 26, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 26, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, CURRAN, AND BANNISTER, JJ.


1112 KA 17-01704

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vCALVIN L. BUTLER, JR., DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






CARA A. WALDMAN, FAIRPORT, FOR DEFENDANT-APPELLANT.
MARK S. SINKIEWICZ, ACTING DISTRICT ATTORNEY, WATERLOO, FOR RESPONDENT. 


	Appeal from a judgment of the Seneca County Court (Dennis F. Bender, J.), rendered April 25, 2017. The judgment convicted defendant upon his plea of guilty of criminal possession of a controlled substance in the third degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Same Memorandum as in People v Butler ([appeal No. 1] — AD3d — [Mar. 26, 2021] [4th Dept 2021]).
Entered: March 26, 2021
Mark W. Bennett
Clerk of the Court








